Case 4:06-cr-00276-RAS-DDB            Document 75        Filed 08/13/07      Page 1 of 2 PageID #:
                                            2137



                IN THE UNITED STATES DISTRICT COURT     FILED: 8/13/07
                 FOR THE EASTERN DISTRICT OF TEXAS U.S. DISTRICT COURT
                         SHERMAN DIVISION         EASTERN DISTRICT COURT
                                                   DAVID J. MALAND, CLERK
UNITED STATES OF AMERICA         §
                                 §
vs.                              §             CRIMINAL NO. 4:06CR276
                                 §
SONJA RITZ (2)                   §

                ORDER DENYING DEFENDANT SONJA RITZ’S MOTION
                       FOR A PRE-TRIAL JAMES HEARING

       Pending before the court is Defendant Sonja Ritz’s “Motion for a James Hearing” (docket

entry #47) and the Government’s response in opposition thereto (docket entry #48). On July 26,

2007, the court conducted a telephonic hearing on the record with counsel for all parties present.

Having considered the briefing of the parties and the arguments of counsel, the court finds that the

Defendant’s motion should be denied.

       In her motion, the Defendant requests that the court conduct a pre-trial James hearing to

determine the admissibility of all alleged co-conspirator statements under Rule 801(d)(2)(E) of the

Federal Rules of Evidence. The Government argues, however, that a pre-trial James hearing is not

required. Additionally, the Government contends that a pre-trial James hearing would be unduly

burdensome and costly in light of the fact that it would be required to produce over thirty witnesses,

some of whom would be required to travel from as far as California and Vermont, for the pre-trial

hearing and then again at trial.

       The court agrees with the Government. The James court advised that whenever reasonably

practicable, a trial court should “‘require the showing of a conspiracy and of the connection of the

defendant with it before admitting declarations of a coconspirator.’” United States v. Fragoso, 978



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Case 4:06-cr-00276-RAS-DDB            Document 75        Filed 08/13/07      Page 2 of 2 PageID #:
                                            2138



F.2d 896, 900 (5th Cir. 1992), citing United States v. James, 590 F.2d 575, 582 (5th Cir.), cert.

denied, 442 U.S. 917, 99 S.Ct. 2836, 61 L.Ed.2d 283 (1979). The James court, however, “also

recognized that it is sometimes not reasonably practicable ‘to require the showing to be made before

admitting the evidence.’” Id., citing James, supra. As a result, the Fifth Circuit “has approved

district courts’ practice of carrying a James motion through trial or at least through presentation of

the government’s case until a determination of the existence of the Rule 801(d)(2)(E) predicate facts

can be appropriately made.” Id. (citations omitted).

       Based on the foregoing, the court is inclined to carry the Defendant’s James motion through

the presentation of the Government’s case-in-chief. It is, therefore,

       ORDERED that Defendant Sonja Ritz’s “Motion for a [pre-trial] James Hearing” (docket

entry #47) is DENIED.

       IT IS SO ORDERED.

            .    SIGNED this the 13th day of August, 2007.




                                                            _______________________________
                                                            RICHARD A. SCHELL
                                                            UNITED STATES DISTRICT JUDGE




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